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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.,                    )
                        Plaintiff,        )
                                          )
                  v.                      ) Civil Action No. 1:17-cv-11008-MLW
                                          )
CELLTRION HEALTHCARE CO., LTD.,           ) CONFIDENTIAL
CELLTRION, INC., and                      ) FILED UNDER SEAL
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )



STATEMENT OF MATERIAL FACTS IN SUPPORT OF PLAINTIFF’S MOTION FOR
 SUMMARY JUDGMENT ON THE ISSUE OF NON-INFRINGING ALTERNATIVES




                  FILED UNDER SEAL
